          Case 3:17-cr-00082-MMD-CLB Document 138 Filed 07/08/20 Page 1 of 3



 1

 2

 3

 4

 5

 6                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
 7

 8 UNITED STATES OF AMERICA,                       3:17-CR-082-MMD-CLB

 9                Plaintiff,
                                                   Preliminary Order of Forfeiture
10         v.

11 ANTOINE W. HARRIS, aka “King,”

12                Defendant.

13         This Court finds Antoine W. Harris, aka “King,” pled guilty to Counts One and
14 Two of the Superseding Information charging him in Count One with possession with the

15 intent to distribute 5 grams or more of methamphetamine in violation of 21 U.S.C. §

16 841(a)(1) and in Count Two with possession of a firearm in furtherance of a drug trafficking

17 crime in violation of 18 U.S.C. § 924(c)(1)(A)(i). Superseding Information, ECF No. 130;

18 Plea Agreement, ECF No. 131; Arraignment & Plea, ECF No. 135.

19         This Court finds Antoine W. Harris, aka “King,” agreed to the forfeiture of the
20 property set forth in the Plea Agreement and the Forfeiture Allegation of the Superseding

21 Information. Superseding Information, ECF No. 130; Plea Agreement, ECF No. 131;

22 Arraignment & Plea, ECF No. 135.

23         This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2), the United
24 States of America has shown the requisite nexus between the property set forth in the Plea

25 Agreement and the Forfeiture Allegation of the Superseding Information and the offense to

26 which Antoine W. Harris, aka “King,” pled guilty.

27         The following property is (1) any firearm or ammunition involved in or used in any
28 violation of any other criminal law of the United States, 21 U.S.C. § 841(a)(1) and (2) any
          Case 3:17-cr-00082-MMD-CLB Document 138 Filed 07/08/20 Page 2 of 3



 1   firearm or ammunition involved in or used in any knowing violation of 18 U.S.C. §

 2   924(c)(1)(A)(i), and is subject to forfeiture pursuant to 18 U.S.C. § 924(d)(1) with 28 U.S.C.

 3   § 2461(c):

 4                   1. a High Point 9mm caliber pistol bearing serial number P1973672; and

 5                   2. any and all ammunition

 6   (all of which constitutes property).

 7            This Court finds that the United States of America may amend this order at any time

 8   to add subsequently located property or substitute property to the forfeiture order pursuant

 9   to Fed. R. Crim. P. 32.2(b)(2)(C) and 32.2(e).

10            This Court finds the United States of America is now entitled to, and should, reduce

11   the aforementioned property to the possession of the United States of America.

12            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

13   DECREED that the United States of America should seize the aforementioned property.

14            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all possessory

15   rights, ownership rights, and all rights, titles, and interests of Antoine W. Harris, aka

16   “King,” in the aforementioned property are forfeited and are vested in the United States of

17   America and shall be safely held by the United States of America until further order of the

18   Court.

19            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States

20   of America shall publish for at least thirty (30) consecutive days on the official internet

21   government forfeiture website, www.forfeiture.gov, notice of this Order, which shall

22   describe the forfeited property, state the time under the applicable statute when a petition

23   contesting the forfeiture must be filed, and state the name and contact information for the

24   government attorney to be served with the petition, pursuant to Fed. R. Crim. P. 32.2(b)(6)

25   and 21 U.S.C. § 853(n)(2).

26            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual

27   or entity who claims an interest in the aforementioned property must file a petition for a

28   hearing to adjudicate the validity of the petitioner’s alleged interest in the property, which

                                                     2
           Case 3:17-cr-00082-MMD-CLB Document 138 Filed 07/08/20 Page 3 of 3



 1   petition shall be signed by the petitioner under penalty of perjury pursuant to 21 U.S.C. §

 2   853(n)(3) and 28 U.S.C. § 1746, and shall set forth the nature and extent of the petitioner’s

 3   right, title, or interest in the forfeited property and any additional facts supporting the

 4   petitioner’s petition and the relief sought.

 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any,

 6   must be filed with the Clerk of the Court, Bruce R. Thompson U.S. Courthouse and Federal

 7   Building, 400 South Virginia Street, 3rd Floor, Reno, Nevada 89501, no later than thirty

 8   (30) days after the notice is sent or, if direct notice was not sent, no later than sixty (60) days

 9   after the first day of the publication on the official internet government forfeiture site,

10   www.forfeiture.gov.

11          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the

12   petition, if any, shall be served upon the Asset Forfeiture Attorney of the United States

13   Attorney’s Office at the following address at the time of filing:

14                  Daniel D. Hollingsworth
                    Assistant United States Attorney
15                  James A. Blum
                    Assistant United States Attorney
16                  501 Las Vegas Boulevard South, Suite 1100
                    Las Vegas, Nevada 89101.
17

18          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice

19   described herein need not be published in the event a Declaration of Forfeiture is issued by

20   the appropriate agency following publication of notice of seizure and intent to

21   administratively forfeit the above-described property.

22          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

23   copies of this Order to all counsel of record.

24                  July 8
            DATED _____________________, 2020.

25

26

27                                                  HONORABLE MIRANDA M. DU
                                                    CHIEF U.S. DISTRICT JUDGE
28
                                                      3
